      Case 2:21-cv-00455 Document 42 Filed 05/11/22 Page 1 of 2 PageID #: 126




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON

 CHESTER CALHOUN,

           Plaintiff,

 v.                                                           Civil Action No. 2:21-cv-00455
                                                                     Honorable Irene Berger
 RINGLING BROS.-BARNUM & BAILEY
 COMBINED SHOWS, INC., and JOHN
 DOE AKA "MAUI" FROM MOANA,

           Defendants.

          AMENDED NOTICE OF INDEPENDENT MEDICAL EXAMINATION

        PLEASE TAKE NOTICE that, pursuant to Rule 35 of the Federal Rules of Civil Procedure,

the Defendant, through counsel, Charles R. Bailey, Samuel M. Bloom and the law firm of Bailey &

Wyant, PLLC will on the 16th day of May, 2022, beginning at 2:00 PM have the Plaintiff, Chester

Calhoun, undergo an independent medical examination by Dr. Prasadarao Mukkamala at 1 Union

Square, Suite 3, Charleston, West Virginia.

                                                  RINGLING BROS. – BARNUM &
                                                  BAILEY COMBINED SHOWS, INC.,
                                                  By Counsel,
 /s/ Samuel M. Bloom
Charles R. Bailey (WV Bar #0202)
Samuel M. Bloom (WV Bar #13739)
BAILEY & WYANT, PLLC
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 CHESTER CALHOUN,

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                                                                 Honorable Irene Berger
 RINGLING BROS.-BARNUM & BAILEY
 COMBINED SHOWS, INC., and JOHN
 DOE AKA "MAUI" FROM MOANA,

           Defendants.

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of foregoing Amended Notice of
Independent Medical Examination was served upon the following parties through the Court’s
Electronic Case Filing (ECF) system on this day, Wednesday, May 11, 2022:

                                  Stephen E. Hastings
                                      Raj A. Shah
                               Hendrickson & Long, PLLC
                                     214 Capital St.
                                 Charleston, WV 25301
                                   rshah@handl.com
                                Counsel for Chester Calhoun

                                              /s/ Samuel M. Bloom
                                             Charles R. Bailey (WV Bar #0202)
                                             Samuel M. Bloom (WV Bar #13739)
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